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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


  UNITED STATES OF AMERICA, STATES OF
  CALIFORNIA, COLORADO, CONNECTICUT,
  DELAWARE, FLORIDA, GEORGIA, HAWAII,
  ILLINOIS, INDIANA, IOWA, LOUISIANA,
  MICHIGAN, MINNESOTA, MONTANA, NEVADA,
  NEW JERSEY, NEW MEXICO, NEW YORK,
  NORTH CAROLINA, OKLAHOMA, RHODE
  ISLAND, TENNESSEE, TEXAS, VERMONT, and
  WASHINGTON; THE COMMONWEALTHS OF                    Civ. No. 19-12107 (KM) (ESK)
  MASSACHUSETTS and VIRGINIA; and THE
  DISTRICT OF COLUMBIA,
                                                      Document electronically filed
  ex rel. ZACHARY SILBERSHER,

                       Plaintiffs,                    Motion return date: May 15, 2023

  v.

  JANSSEN BIOTECH, INC., JANSSEN ONCOLOGY,
  INC., JANSSEN RESEARCH & DEVELOPMENT,
  LLC, and JOHNSON & JOHNSON

                       Defendants.


       NONPARTY MYLAN PHARMACEUTICALS INC.’S BRIEF IN SUPPORT OF
                 MOTION TO QUASH NONPARTY SUBPOENA


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         Third Party Mylan Pharmaceuticals Inc. (“MPI”), by and through its undersigned counsel,

  respectfully requests, pursuant to Federal Rules of Civil Procedure 26 and 45, that the Court quash

  Defendants Janssen Biotech, Inc., Janssen Oncology, Inc., Janssen Research & Development,

  LLC, and Johnson & Johnson’s (together “Janssen”) subpoena requesting the production of MPI’s

  confidential documents related to its generic abiraterone acetate products.

  I.     INTRODUCTION

         MPI is not a party to the present qui tam litigation, in which Plaintiff-Relator Zachary

  Silbersher (“Silbersher” or “Relator”) alleges Janssen unlawfully delayed generic competition for

  its Zytiga®-branded abiraterone drug product beyond the December 2016 expiration of Janssen’s

  U.S. Patent No. 5,604,213 (“’213 patent”), which claimed the abiraterone drug substance in

  Zytiga®. 1 According to Relator, Janssen knew “at least fourteen generic manufacturers were ready,

  willing, and able to introduce generic competition to Zytiga when the ’213 Patent expired.” ECF

  No. 1 ¶ 4.

         Janssen’s third-party subpoena improperly seeks broad and burdensome discovery that is

  not relevant to any issue in the proceeding. The requested documents include, inter alia, highly

  confidential and sensitive regulatory, business, and commercial documents dating back more than

  a decade. These requests purportedly relate to Relator’s underlying qui tam theory, which this

  Court has already called “borderline speculative.” United States ex rel. Silbersher v. Janssen

  Biotech, Inc., 2022 WL 17250563, at *4 (D.N.J. Nov 28, 2022) (denying Relator’s motion to

  compel discovery of MPI’s documents from the underlying ANDA case).




  1
    Janssen also owned U.S. Patent No. 8,822,438 (“’438 patent”), which claimed a method of
  treating prostate cancer using abiraterone acetate and prednisone. Janssen asserted the ’438
  patent against MPI before the ’213 patent expired.
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         At least as related to MPI, the theories in this qui tam litigation and the related burdensome

  discovery sought by both Janssen and the Relator 2 suffer from at least three fundamental flaws:

         (1)     MPI, along with many other ANDA filers, filed its ANDA at the very first

  opportunity allowed by law, the so-called NCE-1 date. Ex. A (Approval letter for MPI’s ANDA

  No. 208446) at 1 (showing ANDA received for review on April 28, 2015). This date is set by

  federal law and was based, in this instance, on the original approval date of Janssen’s branded

  abiraterone product, Zytiga. No party could have filed an abiraterone ANDA any earlier. The FDA

  is subject to strict rules promulgated under the Generic Drug User Fee Amendments (“GDUFA”) 3

  addressing the time to approve or not approve any ANDA and to issue any deficiency letters to the

  ANDA filer. At all relevant times here, the FDA was acting under the GDUFA II commitment

  letter, 4 which provided the timelines under which the FDA was to address MPI’s ANDA. In short,

  the FDA was obligated to approve MPI’s ANDA as soon as the ANDA was approvable under the

  FDA’s review standards, with two types of approval possible. First, if the ANDA was approvable

  under the FDA’s standards while patent or regulatory exclusivities prevented the marketing of

  MPI’s product, the FDA would have issued only a tentative approval of the ANDA. Indeed, that

  occurred with respect to at least two ANDA filers, Amneal Pharmaceuticals and Wockhardt USA,

  each of which received tentative approval for its ANDA in October 2017, more than a year before

  MPI received its own approval. Ex. B (Approval letter for Amneal’s ANDA No. 208327) at 1, 5




  2
    The qui tam Relator provided a draft subpoena to “Mylan, Inc.,” but the subpoena has not yet
  been served.
  3
    The FDA’s website provides an overview of GDUFA. See https://www.fda.gov/industry/fda-
  user-fee-programs/generic-drug-user-fee-
  amendments#:~:text=Congress%20enacted%20GDUFA%20to%20ensure,review%20of%20gen
  eric%20drug%20applications.
  4
    GDUFA II refers to the document “GDUFA Reauthorization Performance Goals and Program
  Enhancements Fiscal Years 2018-2022.” See https://www.fda.gov/media/101052/download.


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  (deeming ANDA product to be “safe and effective for use as recommended in the submitted

  labeling,” but granting only tentative approval on October 27, 2017, because of a blocking

  exclusivity); Ex. C (Approval letter for Wockhardt’s ANDA No. 208380) at 1, 5 (deeming ANDA

  product to be “safe and effective for use as recommended in the submitted labeling,” but granting

  only tentative approval on October 18, 2017, because of a blocking exclusivity). This demonstrably

  proves that with respect to the abiraterone ANDAs, the FDA was not dragging its feet in granting

  approval to approvable ANDAs because of the ’438 patent. Second, if the ANDA was approvable

  while no patent or regulatory exclusivities barred the marketing of MPI’s product, the FDA would

  grant final approval of the ANDA. That is exactly what happened here with respect to MPI’s

  ANDA—the FDA granted final approval of the ANDA on October 31, 2018, because there were

  no active patent or regulatory exclusivities and MPI launched shortly afterward. It is an immutable

  fact that MPI launched as soon as possible after it had the FDA’s approval.

         (2)     With respect to the financial discovery sought by Janssen, the alleged harm here is

  solely to the Federal government through the Federal government’s pharmaceutical acquisition

  programs. Indeed, the Federal government is considered the true plaintiff in a qui tam litigation,

  with the Relator merely prosecuting the case on the Government’s behalf in the hope of securing

  a financial reward. Neither party has sought discovery from the Federal government yet, which is

  where the proof of any harm the Federal government suffered resides.

         (3)     MPI launched its product at the earliest possible opportunity and MPI launched into

  a competitive market already crowded with multiple other companies and multiple abiraterone

  products. Whoever the Federal government chose to purchase its products from, and whatever

  price they paid at that point, was determined by the dynamics of an already-established competitive

  market that featured both brand and generic products before MPI entered. As the other ANDA




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  filers note in their motion to quash (ECF No.249), it is both illogical and speculative to believe

  that companies like MPI undertake the complex and expensive launch planning process years

  before they can, in fact, launch. They do not. Seeking discovery on issues concerning MPI’s ability

  to launch, based on pure speculation that MPI could do so in advance of the statutory stay in this

  case is a fishing expedition undertaken in a barren sea.

         The Court should quash the subpoena under Rule 45, which requires limiting the burden

  and expense on non-parties from improper discovery, because the subpoena is procedurally

  invalid, overbroad, and poses an undue burden. Indeed, another court in this District granted a

  motion to quash a subpoena that, as here, requested “discovery of documents related to [a

  generic’s] ability to bring [its generic product] to market” and “discovery of [the generic’s] sales

  data of its [generic product].” SAJ Distribs., Inc. v. Sandoz, Inc., 2008 WL 2668953, at *2 (D.N.J.

  June 26, 2008). Respectfully, this Court should do the same. MPI should not be forced to endure

  the cost and burden of speculatory theories and discovery.

  II.    BACKGROUND

         A.      MPI Filed Its ANDA On the Earliest Possible Date

         MPI, along with many other ANDA filers, filed the ANDA for it proposed abiraterone

  acetate product at the very first opportunity allowed by law, the so-called NCE-1 date. This date

  (April 28, 2015) was based on the original approval date of Janssen’s branded abiraterone product,

  Zytiga. The FDA approved MPI’s ANDA on October 31, 2018, after the expiration of the ’213

  patent, which claimed the abiraterone compound itself, and the ’438 patent, which claimed a

  method of using abiraterone to treat prostate cancer. Ex. A.




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         In reviewing MPI’s ANDA, the FDA was subject to the rules of GDUFA. Under this Act,

  the FDA has committed itself to act to approve or not approve any ANDA and to issue any

  deficiency letters to the ANDA filer by certain statutory deadlines. At all relevant times here, the

  FDA was acting under the GDUFA II commitment letter, which provided timelines for the FDA to

  review and approve the substance of MPI’s ANDA. By statute, the FDA was obligated to approve

  MPI’s ANDA as soon as the ANDA was approvable, but no sooner. If the ANDA was approvable

  while patent or regulatory exclusivities prevented marketing of MPI’s proposed ANDA product,

  the FDA would have issued a tentative approval. If, on the other hand, no patent or regulatory

  exclusivities prevented marketing of MPI’s proposed ANDA product, the FDA would have granted

  final approval. Here, the FDA granted final approval to MPI’s ANDA on October 31, 2018, shortly

  after which MPI launched its generic abiraterone acetate drug product.

         B.      Other ANDAs and NDAs

         Thirteen companies filed ANDAs on the NCE-1 date. See Ex. D (FDA Paragraph IV Patent

  Certifications list) at 1 (entry for abiraterone acetate 250 mg strength, showing 13 ANDAs

  submitted on April 28, 2015). Like MPI, at least three other ANDA filers received final the FDA’s

  approval on October 31, 2018. Ex. E (Approval letter for Apotex’s ANDA No. 208453) at 1, 5



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  (granting final approval on October 31, 2018); Ex. F (Approval letter for Hikma’s ANDA No.

  208339) at 1, 5 (granting final approval on October 31, 2018); Ex. G (Approval letter for Teva’s

  ANDA No. 208432) at 1, 5 (granting final approval on October 31, 2018). Other ANDA filers that

  filed on April 28, 2015, did not receive approval—if they received approval at all—until well after

  October 31, 2018. Of most import to the issues here, Wockhardt, another company that filed an

  ANDA on April 28, 2015, received the FDA’s approval on October 18, 2017, more than a year

  before MPI and many of the other ANDA filers. In addition, Sun Pharmaceuticals filed a New

  Drug Application (“NDA”) for its own branded abiraterone acetate product on May 19, 2017, and

  that application was approved, and Sun launched, on May 22, 2018. Ex. H (Approval letter for

  Sun’s NDA No. 210308) at 1, 4 (granting final approval on May 22, 2018). Thus, contrary to any

  speculative theory that may be percolating in the qui tam litigation, the FDA’s early approval of

  Wockhardt’s ANDA, and its approval in barely more than one year of Sun’s NDA, demonstrates

  the FDA was promptly reviewing and approving any abiraterone acetate drug application when it

  was approvable, including following its GDUFA obligations to timely act on ANDAs and to

  approve those generic products as soon as they were approvable.

         C.      Other Proceedings

                 1.      District Court Litigation

         Previously, Janssen and MPI were parties to a patent litigation under the Hatch-Waxman

  Act (the “ANDA case”). In that case, Janssen asserted that MPI’s ANDA No. 208446, which

  described MPI’s proposed abiraterone acetate drug product, infringed another of Janssen’s

  Zytiga®-related patents, U.S. Patent No. 8,822,438 (“’438 patent”), which claimed a method of

  using abiraterone to treat prostate cancer.

         On April 28, 2015, MPI filed an ANDA for its abiraterone acetate tablets. See Ex. A




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  (Approval letter for MPI’s ANDA No. 208446) at 1. 5 At the time, both U.S. Patent No. 5,604,213

  (“’213 patent”) and U.S. Patent No. 8,822,438 (“’438 patent”) were listed in the Orange Book for

  Zytiga. See No. 15-cv-5909, ECF No. 1 ¶¶ 58-59; 21 U.S.C. § 355(b)(1). At the same time, the

  Orange Book listed “NCE” (new chemical entity) exclusivity for Zytiga, expiring on April 28,

  2016. Ex. I (excerpts from the FDA’s Approved Drug Products with Therapeutic Equivalence

  Evaluations (“Orange Book”) (35th ed. 2015)) at 5 (listing “NCE Apr 28, 2016”). Based on this

  NCE exclusivity, the earliest possible filing date for MPI’s ANDA related to Zytiga was one year

  earlier, a date called “NCE-1” (NCE date minus one year), which was April 28, 2015. MPI filed

  its ANDA on that date. Ex. A.

         Janssen filed suit against MPI on July 31, 2015. No. 15-cv-5909, ECF No. 1 ¶ 98. Janssen’s

  filing of a suit triggered an automatic stay of approval of MPI’s ANDA, measured from the date

  that Janssen’s ANDA was approved. Thus, absent certain circumstances that did not arise in this

  case, final approval of MPI’s ANDA was prohibited until on or after October 29, 2018.

         The litigation that followed the filing of Janssen’s complaint ended in the district court

  issuing an opinion on October 26, 2018, finding the ’438 patent invalid as obvious. No. 15-cv-

  5909, ECF No. 560. The court issued an amended opinion of invalidity of the ’438 patent, and

  entered its final judgment of invalidity, on October 31, 2018. No. 15-cv-5909, ECF Nos. 571, 572;

  BTG Int’l Ltd. v. Amneal Pharms. LLC, 352 F. Supp. 3d 352, 383-89 (D.N.J. 2018).

         The FDA approved MPI’s ANDA No. 208446 on October 31, 2018. Ex. A.

         On October 31, 2018, Janssen appealed to the Court of Appeals for the Federal Circuit the

  district court’s judgment that the ’438 patent was invalid as obvious. No. 15-cv-5909, ECF




  5
   https://www.accessdata.fda.gov/drugsatfda_docs/appletter/2018/208446Orig1s000ltr.pdf (last
  accessed April 21, 2023).


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  No. 573.

         MPI launched its product on November 21, 2018.

                 2.      Proceedings at the Patent Trial and Appeal Board

         The district court litigation was not the only proceeding that found the ’438 patent invalid

  as obvious. On June 30, 2016, MPI filed a petition for inter partes review (“IPR”) of the ’438

  patent, seeking an order from the U.S. Patent and Trademark Office’s Patent Trial and Appeal

  Board (“PTAB”) that the ’438 patent’s claims were unpatentable as obvious. Pet., Mylan Pharms.

  Inc. v. Janssen Oncology, Inc., IPR2016-01332, Paper 1 (PTAB June 30, 2016). The MPI-initiated

  IPR review was one of five IPRs filed on the same or similar grounds to challenge validity of the

  ’438 patent. See also IPR2016-00286 (by Amerigen), IPR2016-01317 (by Argentum), IPR2016-

  01582 (by Wockhardt), and IPR2017-00853 (by Amneal).

         On January 17, 2018, the PTAB found that the claims of the ’438 patent were unpatentable,

  i.e., invalid, as obvious over the prior art. See, e.g., Mylan, IPR2016-01332, Paper 84. 6 Janssen

  appealed the PTAB’s final written decision to the Federal Circuit.

                 3.      Consolidated Appeal Proceedings at the Federal Circuit

         The Federal Circuit held a combined hearing on Janssen’s appeals of the district court and

  PTAB’s rulings. BTG Int’l Ltd. v. Amneal Pharms. LLC, 923 F.3d 1063, 1065-66 (Fed. Cir. 2019).

  Focusing on the Wockhardt-initiated inter partes review proceeding (IPR2016-01582), the Federal

  Circuit affirmed the PTAB’s finding that the claims of the ’438 patent were unpatentable (i.e.,

  invalid) as obvious. Id. at 1073-77. The Federal Circuit dismissed as moot the appeals of all other

  actions, including the district court litigation and the MPI-initiated inter partes review. Id. at 1066

  n.2, 1077.


  6
   The PTAB reached the same decision in each of the inter partes reviews related to the ’438
  patent where it issued a final written decision, finding it invalid as obvious in each instance.


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         D.      The Qui Tam Litigation

         MPI is not a party to the present qui tam case. This action was originally brought against

  Janssen in the Northern District of California in 2017, and the action was transferred to this District

  in 2019. See United States of America v. Janssen Biotech, Inc., No. 4:17-cv-07250 (N.D. Cal. Apr.

  29, 2019), ECF 51 (order granting motion to transfer venue). On September 24, 2018, the

  Government declined to intervene. Id., ECF 6 (Government’s Notice of Election to Decline

  Intervention and Order regarding procedure).

         In May 2021, Relator contacted MPI through counsel, seeking discovery of MPI’s

  documents produced in the ANDA case. These documents were and still are in Janssen’s

  possession, after Janssen neglected to destroy them at the conclusion of that case, as required by

  the protective order in that case. See ECF 218 at 5-6 (explaining the same); No. 15-cv-5909, ECF

  634 (same). After extended negotiations with both Relator and Janssen, MPI declined to allow

  Janssen to produce those documents in discovery. In May 2022, Relator filed two motions related

  to this dispute: 1) a motion to compel Janssen to produce MPI’s documents from the ANDA case

  that remained in Janssen’s possession, and 2) a motion to amend the qui tam discovery

  confidentiality order to allow Relator to review the produced documents. This Court denied both

  motions. United States ex rel. Silbersher v. Janssen Biotech, Inc., 2022 WL 17250563, at *5 (D.N.J.

  Nov. 28, 2022). Regarding Relator’s motion to compel discovery, in particular, the Court

  acknowledged that “any qui tam case may arguably involve issues that are important to the public,”

  but also found Relator’s supporting reasoning, based on alleged “evidence that [Janssen’s]

  misconduct delayed Mylan’s market entry,” “to be borderline speculative.” Id. at *4.




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             Janssen served a subpoena on MPI on March 6, 2023. 7 Janssen’s document requests are

  both duplicative and cumulative of the document productions that this Court already refused to

  compel, and significantly broader and more invasive. The requests include, for example:

         •   All documents and communications relating to planning or analysis for developing or
             marketing your abiraterone acetate product or a product containing abiraterone acetate;

         •   All documents relating to Mylan’s establishment of a wholesale acquisition cost and/or
             average wholesale price for NDC No. 00378-6920-78, including any press releases, email
             announcements, or other communications with any drug price listing service or any other
             entity;

         •   All documents sufficient to identify any other entities involved in the manufacturing,
             labeling, relabeling, assembly, preparation, or inventorying of abiraterone acetate or
             Mylan’s product containing abiraterone acetate, including but not limited to any contracts
             with other entities involved in the manufacturing of the active pharmaceutical ingredient
             or any other part of your abiraterone acetate product;

         •   All documents or communications relating to any agreements with any wholesalers, retail
             pharmacies, specialty pharmacies, or any other potential purchasers or distributors
             involved in the distribution of Mylan’s generic abiraterone acetate product;

         •   All documents and communications relating to whether Mylan would be able to supply
             sufficient abiraterone acetate product to meet expected demand upon FDA approval; and

         •   All documents relating to Mylan’s business plans and strategy, including timing, to file an
             ANDA for generic abiraterone acetate and any changes to that strategy and/or timing.

  Ex. K (Subpoena from Janssen to nonparty Mylan Pharmaceuticals Inc.) at 7-8. For at least the

  reasons below, this Court should grant MPI’s motion to quash Janssen’s subpoena.

  III.       LEGAL STANDARD

             “The Federal Rules of Civil Procedure contain a clear set of instructions regarding how

  subpoenas for documents, and also disputes related to such subpoenas, are to be handled.” In re

  Disposable Contact Lens Antitrust Litig., 306 F. Supp. 3d 372, 375 (D.D.C. 2017). As a threshold



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    In exchange for accepting service of the subpoena, Janssen consented to MPI serving its response
  to the subpoenas no later than April 21, 2023. See Ex. J (email correspondence between Reid and
  White) at 1 (agreeing to date).


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  matter, a nonparty subpoena must comply with the requirements of Federal Rule of Civil Procedure

  45. If the subpoena “requires a person to comply beyond the geographical limits specified in Rule

  45(c)” (within 100 miles of where the person resides, is employed, or regularly transacts business

  in person) then the court “must quash or modify the subpoena” Fed. R. Civ. P. 45(c)(3)(A)

  (emphasis added).

         If the geographic requirements are met, the Court must ensure a subpoena “served in

  conjunction with discovery must fall within the scope of proper discovery under Fed. R. Civ. P.

  26(b)(1).” Schmulovich v. 1161 Rt. 9 LLC, 2007 WL 2362598, at *2 (D.N.J. Aug. 15, 2007). The

  court “must limit the . . . extent of discovery” where it is duplicative; where it can be obtained

  from another source that is “more convenient, less burdensome, or less expensive”; where the party

  seeking discovery has had ample opportunity to obtain the discovery; or where the burden or

  expense outweighs any perceived benefit of the discovery. Fed. R. Civ. P. 26(b)(2)(C)(i)–(iii). The

  right to discovery is not unlimited and does have “ultimate and necessary boundaries.” Hickman

  v. Taylor, 329 U.S. 495, 507 (1947).

         It is well established that a nonparty to an action is “afford[ed] greater protection . . . in

  discovery, and nonparty subpoenas must meet a higher standard of relevance than subpoenas

  directed toward parties.” Conforti v. St. Joseph’s Healthcare Sys., Inc., 2019 WL 3847994, at *2

  (D.N.J. Aug. 15, 2019); Walgreens Specialty Pharm., LLC v. Atrium Admin. Servs., Inc., 2020 WL

  6042280, at *3 (D.N.J. Oct. 13, 2020) (internal quotation marks omitted); see also Stamy v. Packer,

  138 F.R.D. 412, 419 (D.N.J. 1990) (noting “standards for nonparty discovery require a stronger

  showing of relevance than for simple party discovery”).

         Under Rule 45, “courts have significant discretion to quash or modify a subpoena where

  the discovery sought is irrelevant, or compliance with the subpoena would be unreasonable and




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  oppressive.” Walgreens, 2020 WL 6042280, at *3 (internal citations and quotation marks omitted).

  To determine whether a subpoena is “unreasonable or oppressive,” the moving party need only

  show that, on balance, the following factors weigh in favor of quashing the subpoena: “(1) the

  party’s need for the production; (2) the nature and importance of the litigation; (3) the relevance

  of the material; (4) the breadth of the request for production; (5) the time period covered by the

  request; (6) the particularity with which the documents are described; and (7) the burden imposed

  on the subpoenaed party.” In re Lazaridis, 865 F. Supp. 2d 521, 524 (D.N.J. 2011); Strike 3

  Holdings, LLC v. Doe, 2019 WL 4745360, at *5 (D.N.J. Sept. 30, 2019).

         As described below, the subpoena should be quashed because it seeks information

  irrelevant to issues in the present case, is overbroad, and imposes a substantial and undue burden

  on MPI. See Fed. R. Civ. P. 45(c)(3)(A)(iv).

  IV.    ARGUMENT

         A.      Janssen’s Subpoena is Procedurally Invalid.

         The Court should quash Janssen’s subpoena because they require MPI to comply beyond

  100 miles, the geographical limit specified in Rule 45. Fed. R. Civ. P. 45(c)(3)(A); see also W.

  Coast Life Ins. Co. v. Life Brokerage Partners, LLC, 2010 WL 181088, at *2 (D. Del. Jan. 19,

  2010) (quashing a third-party subpoena because nonparty “demonstrated that its employees work

  more than 100 miles from Wilmington” and so “the court will quash the subpoena in this regard.”).

  Rule 45 requires the production of documents to occur “at a place within 100 miles of where the

  person resides, is employed, or regularly transacts business in person.” Fed. R. Civ. P. 45 (c)(2).

  Even though the rule is clear—in fact, Janssen attached the rule to the issued subpoena—Janssen

  failed to meet this basic requirement. Rather, Janssen specified that compliance should occur in

  Newark, NJ. See Ex. K (Subpoena to nonparty MPI) at 1. But MPI does not reside or regularly

  transact business in person within 100 miles of Newark, NJ. Rather, MPI resides in Morgantown,


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  West Virginia. See, e.g., In Re: Ozempic (Semaglutide) Patent Litig., No. 22-md-3038, ECF 116

  (Apr. 12, 2023) ¶ 5 (MPI is “a corporation organized and existing under the laws of the State of

  West Virginia,” with “a principal place of business at 3711 Collins Ferry Road, Morgantown, WV

  26505”). Thus, Janssen’s subpoena should be quashed on at least this basis.

         B.      The Lazaridis Factors Favor Quashing the Subpoena.

         All seven Lazaridis factors on balance weigh in favor of quashing the Janssen subpoena as

  unreasonable and oppressive.

                 1.      Factor One: Janssen Does Not Need the Requested Documents.

         Janssen does not need this production. When measuring a party’s need for evidence, courts

  look to a variety of factors, including the need to prepare an adequate defense or establish a claim,

  the availability of alternative evidence, the need to cross-examine expert witnesses, and the need

  for the underlying data. See Deitchman v. E.R. Squibb & Sons, Inc., 740 F.2d 556, 561–63 (7th Cir.

  1984). Considering these factors, Janssen cannot demonstrate a need for the broad information it

  seeks from MPI with the subpoena.

         MPI launched its abiraterone product at the earliest possible moment. There is no credible

  theory set forth in the Relator’s Complaint that MPI could have launched any earlier than it did.

  Any suggestion to the contrary is inconsistent with the governing statutes and regulations,

  including the Hatch-Waxman Act and GDUFA, and the FDA’s practice of actively approving other

  abiraterone acetate products for the same market. When MPI launched, it launched into a

  competitive marketplace with competition involving multiple products from Janssen and other

  branded and generic competitors. The discovery sought from MPI is burdensome, speculative,

  duplicative of public information, and irrelevant in view of these incontrovertible and public facts.

         MPI, through counsel, has repeatedly represented to Relator and Janssen, and MPI made

  clear in its opposition to Relator’s earlier motion to compel, that MPI does not have any discrete


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  or unique documents that would indicate its readiness to enter the abiraterone acetate market but

  for the litigation on the ’438 patent. ECF 216 at 8-10 (explaining how MPI could not have launched

  its generic abiraterone ANDA product any earlier than October 31, 2018). The reason for this is

  simply because such an analysis is not undertaken by generic companies in the usual course of

  developing a generic drug product, and this was the case here for MPI’s development of its

  abiraterone ANDA product. Instead, MPI was preparing to enter the market upon the FDA’s

  approval, which it expected around the time the 30-month stay of approval expired. This can be

  understood from documents that are already available to Janssen, including the FDA’s publicly

  available approval letter, 8 which includes the ANDA filing and approval dates, and information

  from publicly available sources. See ECF 216 at 8-10; see also SAJ Distributors, Inc., 2008 WL

  2668953, at *2 (“To require a non-party to search for additional documents that it has certified do

  not exist is an undue burden that would result in the waste of counsels’ resources, and, more

  importantly, a waste of the client’s funds.”).

                 2.      Factor Two: The Nature and Importance of the Litigation Favors
                         Quashing.

         The nature of the suit also favors quashing. As mentioned above, the Government declined

  to intervene in this matter and, as this Court has found, this case “does not raise issues concerning

  public health and safety. Silbersher has not alleged that anyone covered by government health

  programs who needed a prescription for Zytiga following a prostate-cancer diagnosis was denied

  coverage due to its expense or the lack of a generic alternative.” United States ex rel. Silbersher,

  2022 WL 17250563, at *3. In fact, it would be hard to imagine such a circumstance existing, given



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   The FDA’s approval letter for MPI’s ANDA can be found on the publicly accessible
  Drugs@FDA website. Ex. A; see also
  https://www.accessdata.fda.gov/scripts/cder/daf/index.cfm?event=overview.process&ApplNo=2
  08446


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  the number of competitors in the market for abiraterone acetate products, now and at the time of

  MPI’s launch. Indeed, by the time MPI launched its product after the FDA’s approval, the market

  was already being served by multiple products from Janssen and other generic and branded

  suppliers, meaning both cost and availability were not an issue.

         Further, to the extent the subpoena seeks financial information concerning the sales of

  generic or other alternative abiraterone products to the Federal government, such discovery is best

  sought from the Federal government, on whose behalf this case is being prosecuted. Any

  differences between what the Federal government paid before generic entry and following generic

  entry are readily obtainable from the Federal government agencies on whose behalf this case is

  prosecuted.

                 3.     Factor Three: The Requested Material is Tangential and Not
                        Relevant.

         The subpoena should be quashed because it does not seek relevant material. Discovery

  should be denied “where, in the court’s judgment, the inquiry lies in a speculative area.” Micro

  Motion, Inc. v. Kane Steel Co., 894 F.2d 1318, 1326 (Fed. Cir. 1990). A requestor’s “mere suspicion

  is not enough to warrant such a broad inquiry. Subpoenaed information is not relevant to subject

  matter involved in the pending action if the inquiry is based on the party’s mere suspicion or

  speculation.” Hashem v. Hunterdon Cty., 2017 WL 2215122, at *3 (D.N.J. May 18, 2017) (internal

  quotation marks and citations omitted). In addition, “the standards for non-party discovery require

  a stronger showing of relevance than for simple party discovery.” Stamy v. Packer, 138 F.R.D. 412,

  419 (D.N.J. 1990).

         Here, the Court has already noted that Relator’s theory of the case is “borderline

  speculative.” Id. at *4. Documents from MPI cannot be relevant to whether Janssen committed

  fraud against the United States. Those documents are in the possession of Janssen and the United



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  States. Rather, at most, the documents sought from MPI would relate tangentially to Relator’s

  damages claims.

         Further, as noted in MPI’s opposition to Relator’s earlier motion to compel document

  production, MPI’s documents cannot be relevant to the claims in this case. As the Court recognizes,

  Relator’s theory of the case is “that by extending its patent-based monopoly, Janssen fraudulently

  inflated the cost of abiraterone acetate tablets, thereby causing Medicare and other federal and

  state government health programs to pay inflated prices to Janssen to cover Zytiga’s full cost at

  taxpayer expense for those insured by the government health programs.” United States ex rel.

  Silbersher, 2022 WL 17250563, at *2. However, MPI’s entry into the market, and any effect that

  might have had on the price and supply of abiraterone in the marketplace, was dictated by both

  existing regulatory exclusivity and by the timing of the FDA’s approval process. The first of these,

  the NCE-1 regulatory exclusivity, was determined by the date of initial approval of Janssen’s

  Zytiga product and set the date on which MPI could submit its ANDA. The second of these, the

  timing of the FDA’s review and approval process for MPI’s ANDA, was dictated by GDUFA II

  and the FDA’s adherence to those statutory guidelines, which set the date on which the FDA could

  deem MPI’s ANDA finally approvable. MPI’s market participation was therefore not determined

  by any improper patent monopoly that Janssen may have attempted to create. ECF 216 at 8-10

  (MPI could not have launched its generic abiraterone ANDA product before October 31, 2018).

         Finally, the documents requested by Janssen, which are focused on MPI’s pre-launch

  activities, cannot inform the question of whether Janssen inflated its prices, which the government

  was then forced to pay, before the FDA approved MPI to launch its ANDA product. Those pricing

  decisions, and the prices the government then paid, were necessarily determined by the market as

  it existed before MPI’s approval and launch, which contained multiple abiraterone products from




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  Janssen and other suppliers. Information about the availability of MPI’s ANDA product after its

  launch and as it entered this active marketplace is a matter of public record. 9 Thus, nothing

  requested in the Janssen subpoena is relevant to the claims and defenses in this litigation, and this

  lack of relevance is a sufficient basis to grant the motion to quash. ExteNet Sys., Inc. v. Twp. of

  North Bergen, 2021 WL 5782977, at *3 (D.N.J. Dec. 7, 2021).

          A nonparty should not be burdened by extensive document discovery based solely on a

  “speculative” case theory, especially when the nonparty’s information is not relevant to that theory.

                 4.      Factors Four, Five, and Six: The Requests are Broad with An
                         Expansive Time Period and Lack Particularity.

          Janssen’s subpoena requests either very broad categories of information without any time

   periods specified to limit the requests, or overbroad categories of documents. For example, the

   requests include:

      •   All documents and communications relating to planning or analysis for developing or
          marketing your abiraterone acetate product or a product containing abiraterone acetate;

      •   All documents sufficient to identify any other entities involved in the manufacturing,
          labeling, relabeling, assembly, preparation, or inventorying of abiraterone acetate or
          Mylan’s product containing abiraterone acetate, including but not limited to any contracts
          with other entities involved in the manufacturing of the active pharmaceutical ingredient
          or any other part of your abiraterone acetate product;

      •   All documents or communications relating to any agreements with any wholesalers, retail
          pharmacies, specialty pharmacies, or any other potential purchasers or distributors
          involved in the distribution of Mylan’s generic abiraterone acetate product;

      •   All documents and communications relating to whether Mylan would be able to supply
          sufficient abiraterone acetate product to meet expected demand upon FDA approval; and

      •   All documents relating to Mylan’s business plans and strategy, including timing, to file an
          ANDA for generic abiraterone acetate and any changes to that strategy and/or timing.



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   For example, IQVIA is a company that gathers detailed data on the sales of pharmaceuticals,
  providing detailed product-level reports, including various wholesale and retail costs sought by
  Janssen’s subpoena. These reports are available to any IQVIA customer.


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  Ex. K (Subpoena from Janssen to nonparty Mylan Pharmaceuticals Inc.) at 7-8.

         Responding to the breadth of these requests would impose a significant burden on MPI.

  First, MPI would be required to engage the relevant custodians and search other shared sources,

  along with assistance from in-house attorneys and IT professionals, to collect this information,

  which potentially dates back more than ten years to January 1, 2013. Id. at 6 (the “default date

  range for the Requests is January 1, 2013 through May 31, 2020 unless otherwise specified”).

  Second, the custodians of potentially relevant documents would include both current and former

  employees, and span multiple teams within each company, including marketing, finance, sales,

  manufacturing, and supply chain teams. Third, the collection would likely span multiple

  geographies, both domestic and overseas. Fourth, once the proper custodians and sources are

  identified, all collected documents would need to be reviewed for privilege, responsiveness, and

  confidentiality, at considerable expense. It would be unreasonable and oppressive to require a

  disinterested third-party to conduct this kind of collection, review, and production. See N.C. Right

  to Life, Inc. v. Leake, 231 F.R.D. 49, 52 (D.D.C. 2005) (finding subpoena constituted undue burden

  on nonparty large organization that certified compliance would require “the time of at least four to

  six staff members for a month, and could require more time on the part of [its] inside and outside

  counsel”).

                   5.    Factor Seven: MPI is Unduly Burdened Because of the Highly
                         Confidential, Sensitive Nature of the Material Requested.

         In addition to the overbroad and expansive requests, Janssen’s subpoena seeks highly

  confidential, sensitive financial and business information and know-how from MPI. Production of

  such materials would cause immeasurable harm to MPI because it would produce these

  competitive documents to Janssen, its brand competitor against whom MPI is actively competing

  in the market.



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         Under Rule 45, a court may quash or modify a subpoena if it requires “disclosing a trade

  secret or other confidential research, development, or commercial information.” Fed. R. Civ. P.

  45(d)(3)(B)(i). For example, in PPL Energy Plus, LLC v. Solomon, plaintiffs subpoenaed non-party

  PJM, seeking information and documents concerning the wholesale electricity markets operated

  by PJM that would potentially disclose the confidential information. 2013 WL 12123337, at *1

  (D.N.J. Jan. 18, 2013). The Court granted in part the nonparty’s motion to quash because the

  subpoena “would effectively require the Participants to disclose confidential and proprietary

  business information to their competitors.” The court explained further that this “fact alone

  presents significant hardships—especially in light of the Participants’ non-party status in this

  action.” Id.; see also Friedman v. Dollar Thrifty Auto. Grp., Inc., 2014 WL 12767360, at *2 (D.N.J.

  Dec. 18, 2014) (quashing non-party subpoena where “the information sought is confidential

  business information, the disclosure of which would be harmful” to the non-party.).

         Similarly, here, Janssen’s subpoena seeks highly confidential business information from

  MPI that will be produced directly to its competitor, Janssen. For example, Janssen’s requests seek

  the following sensitive information: “planning or analysis for developing or marketing your

  abiraterone acetate product or a product containing abiraterone acetate,” “the submission or

  approval of the label or other labeling of Mylan’s ANDA No. A208446, including any [structured

  product labeling] submissions,” “Mylan’s establishment of a wholesale acquisition cost and/or

  average wholesale price for NDC No. 00378-6920-78,” the identity of “ any other entities involved

  in the manufacturing, labeling, relabeling, assembly, preparation, or inventorying of abiraterone

  acetate or Mylan’s product containing abiraterone acetate, including but not limited to any

  contracts with other entities involved,” “any agreements with any wholesalers, retail pharmacies,

  specialty pharmacies, or any other potential purchasers or distributors involved in the distribution




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  of Mylan’s generic abiraterone acetate product,” and “whether Mylan would be able to supply

  sufficient abiraterone acetate product to meet expected demand.” Ex. K (Subpoena from Janssen

  to nonparty Mylan Pharmaceuticals Inc.) at 7-8. While there is a protective order in place that

  would limit access to this information, the possibility of inadvertent disclosure to unauthorized

  parties or individuals during the litigation, disclosure at trial or otherwise, or Janssen’s failure to

  deal appropriately with those documents, would cause substantial harm to MPI, and outweighs

  Janssen’s need for the information. MPI would also be forced to attempt to protect its highly

  confidential information from public disclosure if either party to this litigation sought to file it as

  part of a paper (MPI would bear the burden, each time, of convincing the Court to keep MPI’s

  information under seal). See ECF 175 at 14 (describing burdens and procedures related to sealing).

  But aside from its forced role in trying to avoid unwanted public disclosures, MPI would have

  little or no control over disclosure of its highly confidential information and how it is used in the

  case. The highly sensitive data that Janssen seeks regarding MPI’s business practices, product

  planning, financial projections, market shares, costs, and profits is therefore unduly burdensome

  to ask nonparty MPI to produce in this action. See SAJ Distribs., Inc., 2008 WL 2668953, at *3

  (granting motion to quash “[i]n order to prevent non-party [generic] from the undue burden

  imposed by having to disclose highly sensitive sales information and from having to produce

  additional data beyond the scope of the original subpoena.”).

  V.     CONCLUSION

         For the foregoing reasons, MPI respectfully requests that the Court grant its motion to

  quash Janssen’s subpoena. 10



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    To the extent the Court is not inclined to quash the Janssen subpoena, MPI respectfully requests
  that the scope of the subpoena be materially narrowed to lessen the burden required for MPI to
  respond.


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   Dated: April 21, 2023               s/ Arnold B. Calmann
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